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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LINDA TRUSH,                                 :
                                             :
               Plaintiff,                    :              CIVIL ACTION
                                             :
       v.                                    :              No: 21-cv-3254
                                             :
CITY OF PHILADELPHIA,                        :
                                             :
               Defendant.

                                            ORDER

       AND NOW, this 19th day of May, 2023, upon consideration of the parties’ joint

request for an extension of time, it is hereby ORDERED that the Request is GRANTED.

Plaintiff has 30 days after the docketing of an order denying its May 31, 2022, Motion to

Compel, or, if the Motion is granted, either in part or in full, 30 days after the deadline for

Defendant’s production of documents set forth in the order to depose Councilman Brian

O’Neill. Further, Defendant has 60 days from the Court’s order or production, whichever is

later, to file its Motion for Summary Judgment.




                                                    BY THE COURT:

                                                     s/ R. Barclay Surrick
                                                    _________________________
                                                    SURRICK, J.
